                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               ASHEVILLE DIVISION



 UNITED STATES OF AMERICA,
                                                             DOCKET NO. 1:23-cr-14
                                Plaintiff,
                                                             UNOPPOSED MOTION TO
                        v.                                   CONTINUE TRIAL DATE

 THOMAS DEWEY TAYLOR, Jr.

                                Defendant.


       Defendant, Thomas Taylor, Jr., by and through undersigned counsel, moves this

Honorable Court to continue his current trial date, scheduled for August 28, 2023, to the next

available Asheville trial calendar. In support of this motion, Mr. Taylor states:

       1. Mr. Taylor made his Initial Appearance on the above captioned indictment on March

1, 2023, and requested that counsel be appointed to represent him. The Federal Public Defender

for the Western District of North Carolina was appointed to represent him, and undersigned

counsel was assigned to his case. On that same date, an arraignment hearing was held, and Mr.

Taylor waived his detention hearing. At the conclusion of these hearings, Mr. Taylor was

detained.

       2. Multiple productions of discovery have been made available to counsel for Mr.

Taylor. Mr. Taylor faces federal charges emanating from a lengthy state investigation which

began in 2021. Mr. Taylor has serious related charges that remain pending in state court which

are potentially impacted by the actions in his federal case. Counsel for Mr. Taylor and counsel

for the government have been in diligent communication with state entities regarding these


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issues and have sought important information necessary for Mr. Taylor to make informed

decisions on how to proceed. However, only within the last week and today, has much needed

information been learned in order to fully advise Mr. Taylor. This information could impact Mr.

Taylor’s course of action.

       Counsel for Mr. Taylor is now in need of additional time to continue discussions with the

government, to continue discussions with Mr. Taylor’s state attorney, and to consult and advise

Mr. Taylor concerning the available courses of action in his case. Additionally, should Mr.

Taylor seek to go to trial after full advisement, counsel is in need of additional time to further

investigate the case and to consult with expert witnesses, if necessary, on particular forensic

issues that have arisen. Understanding that Mr. Taylor has made previous requests for a

continuance, this request is not for the purpose of further delaying his case, but because much

needed information has only recently been acquired that is necessary to ensure effective

representation of Mr. Taylor.

       3. Because this continuance is necessary to continue consulting with Mr. Taylor, to

continue discussions with the government, and to otherwise prepare Mr. Taylor’s case, failure to

grant this continuance would deny counsel for Mr. Taylor the reasonable time necessary for

effective preparation, taking into account the exercise of due diligence.

       4. Undersigned counsel has contacted Assistant United States Attorney Alex Scott and

he does not oppose this motion to continue his trial date.

       WHEREFORE, Mr. Taylor respectfully requests this Honorable Court continue his trial

date to the next available Asheville trial calendar.

Dated: August 10, 2023                                 Respectfully Submitted,

                                                       s/Mary Ellen Coleman
                                                       Mary Ellen Coleman
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